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                                                                     U.S. Department of Justice

                                                                     National Security Division


   Counterintelligence and Export Control Section                    Washington, D.C. 20530


                                                                     October 26, 2022

   By ECF and Courtesy Copy

   Judge Raymond J. Dearie
   United States District Court
    Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11202

   Re:       Donald J. Trump v. United States of America, Case No. 22-81294-CIV-CANNON –
             Global Issues Premotion Letter

   Dear Judge Dearie:

   At last Tuesday’s status conference, Your Honor suggested that the parties could brief global
   issues before you begin review of the scanned seized materials. Your Honor asked the parties to
   file “a short premotion letter identifying the issues to be briefed and setting a proposed
   schedule.” 10/18/2022 Tr. 15: 6-11.

   The parties met and conferred and identified global issues that might assist you in your review.
   The table below collects the issues identified by both parties.

    Concept                                 Global Issue
    Document categorization                 • Whether Plaintiff may designate or convert Presidential records to
    as Presidential record or               personal ones during or after his term in office
    personal record                         • Whether certain groups of documents (e.g., pardon packages) are
                                            Presidential records
    Executive privilege                     • Whether categorization of a document as a personal record means that
                                            it cannot be claimed by a former officeholder as subject to a claim of
                                            executive privilege
                                            • Whether Plaintiff may assert executive privilege to withhold seized
                                            materials from the government notwithstanding the four reasons and
                                            footnote in the government’s letter with respect to the 15 Filter A
                                            documents filed on October 20, 2022
    Verification of the Detailed            • Whether Plaintiff should be required to file a declaration or affidavit
    Property Inventory                      regarding the government’s inventory as set forth in ECF 118, at 1-2

   The parties agree to submit principal and responsive briefs simultaneously. To brief the global
   issues before review of the document categorization and executive privilege disputes begins on
   November 12, the parties propose that principal briefs be filed no later than Tuesday, November
   8, and responsive briefs no later than Saturday, November 12.

   The parties believe that resolution of the global issues will enable Your Honor to rule on large
   groups of documents and minimize the number of documents that require individualized review.
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   Thank you for your consideration.
                                       Respectfully submitted,

                                       On behalf of the United States:

                                       JUAN ANTONIO GONZALEZ
                                       UNITED STATES ATTORNEY

                                       MATTHEW G. OLSEN
                                       Assistant Attorney General

                                       By:    /s/
                                       JAY I. BRATT
                                        Chief
                                       JULIE EDELSTEIN
                                        Deputy Chief
                                       STEPHEN MARZEN
                                        Trial Attorney
                                       Counterintelligence and Export Control Section
                                       National Security Division
                                       Department of Justice

                                       On behalf of the Plaintiff, Donald J. Trump:

                                       By:     /s/
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